               Case 8:19-cr-00251-PX Document 11 Filed 11/20/18 Page 1 of 1
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                                IN THE UNITED STATES DISTRICT COURT
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                                                                                                       CLERK. U.S. DISTRICT COURT
UNITED STATES OF AMERICA                                                                                    T
                                                                                                         DISRICT  OF MARYLAND
                                                                                                 or                                 DEPUTY


                        VS.                                                       Case No. TJS 18-mj-03193

        Timothy Lawrence Day




                                 ORDER OF DETENTION BY AGREEMENT


          A hearing, having been held on this date, at which the defendant was represented by

    AneN                                                             , and the Government was represented by

Assistant United States Attorney                   kTisee, Q2iFildwi‘N                                , it is

          ORDERED, this 20th day of November, 2018, that the above-named defendant be,

and the same hereby is, DETAINED by agreement of the parties without prejudice to either side

requesting a prompt hearing to set appropriate conditions of release or otherwise address the

detention of the defendant.


                                                                                  korview
                                                                          Timothy J. Sullivan
                                                                          United States Magistrate Judge




U.S. District Court (4/2000) Criminal Magistrate Forms: Detention by Agreement
